                 Case 18-11474-amc                        Doc 37-2 Filed 08/30/18 Entered 08/30/18 11:23:44                                               Desc
                                                                 Exhibit A Page 1 of 43
  Fill in this information to identify the case:

                        Jamie M. Haas
  Debtor 1              __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

                                          Eastern
  United States Bankruptcy Court for the: __________              PA
                                                     District of __________

  Case number             18-11474-AMC
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                       04/16

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current                   Fulton Bank of New Jersey
   creditor?                            ___________________________________________________________________________________________________________
                                        Name of the current creditor (the person or entity to be paid for this claim)

                                        Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
   acquired from
                                        
                                        X   No
   someone else?                           Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices                 Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                              different)
   creditor be sent?
                                         Fulton Bank of New Jersey
                                        _____________________________________________________                        Fulton Bank of New Jersey
                                                                                                                    _____________________________________________________
   Federal Rule of                      Name                                                                        Name
   Bankruptcy Procedure                  Special Assets - Jessica Fuller, One Penn Square                            Special Assets - Jessica Fuller, One Penn Square
   (FRBP) 2002(g)                       ______________________________________________________                      ______________________________________________________
                                        Number         Street                                                       Number         Street
                                         Lancaster, PA 17604
                                        ______________________________________________________                       Lancaster, PA 17604
                                                                                                                    ______________________________________________________
                                        City                       State             ZIP Code                       City                       State             ZIP Code

                                        Contact phone    ________________________                                   Contact phone   ________________________

                                        Contact email     ________________________                                  Contact email   ________________________



                                        Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                        __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend                
                                        X   No
   one already filed?
                                           Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                     MM / DD       / YYYY



5. Do you know if anyone                
                                        X   No
   else has filed a proof                  Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                               Proof of Claim                                                             page 1
             Case 18-11474-amc                  Doc 37-2 Filed 08/30/18 Entered 08/30/18 11:23:44                                        Desc
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the       
                                 X                                                                                           8666____
                                   Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____            ____ ____
   debtor?



7. How much is the claim?            11,318.63
                                   $_____________________________. Does this amount include interest or other charges?
                                                                                No
                                                                            
                                                                            X    Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                  Mortgage / Note
                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                      
                                 X Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                           
                                           X
                                                Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                               Motor vehicle
                                               Other. Describe:             4419 Richmond Street, Philadelphia, Pennsylvania 19137
                                                                           _____________________________________________________________



                                           Basis for perfection:           Mortgage/Note
                                                                          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:            11,318.63
                                                                                         $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:                 11,318.63 *
                                                                                                                              $____________________
                                                                                                                                *Please see Addendum.

                                                                                       7.750000
                                           Annual Interest Rate (when case was filed) _______%
                                               Fixed
                                           X
                                                Variable



10. Is this claim based on a     
                                 X No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   
                                 X No
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
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12. Is all or part of the claim     No
                                    X

    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $2,850* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $12,850*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    
                                  X
                                   I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts     I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and I declare under penalty of perjury that the foregoing is true and correct.
 3571.
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                    /s/ Raymond M. Kempinski, Esq.
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Raymond M. Kempinski
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Attorney for creditor
                                                         _______________________________________________________________________________________________

                                  Company
                                                          McCabe, Weisberg & Conway, LLC
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.


                                                          123 S. Broad Street, Suite 1400
                                  Address                _______________________________________________________________________________________________
                                                         Number        Street
                                                          Philadelphia, PA 19109
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone
                                                          215-790-1010
                                                         _____________________________                              Email
                                                                                                                                   ecfmail@mwc-law.com
                                                                                                                                   ____________________________________




 Official Form 410                                                           Proof of Claim                                                                page 3
Mortgage Proof of Claim Attachment
                                                                      Case 18-11474-amc                   Doc 37-2 Filed 08/30/18 Entered 08/30/18 11:23:44                                                                           Desc                                                     (12/15)
                                                                                                                         Exhibit A Page 4 of 43
If you file a claim secured by a security interest in the debtor’s principal residence, you must use this form as an attachment to your proof of claim. See separate instructions.
Part 1: Mortgage and Case Information                                                     Part 2: Total Debt Calculation                                      Part 3: Arrearage as of Date of the Petition                             Part 4: Monthly Mortgage Payment
Case number:                  18-11474-AMC                                                Principal balance:                $9,924.61                         Principal & interest due:        N/A                                     Principal & interest:              N/A
Debtor 1:                     Jamie M. Haas                                               Interest due:                     $1,098.19                         Prepetition fees due:            N/A                                     Monthly escrow:                    N/A
                                                                                                                                                              Escrow deficiency for funds                                              Private mortgage
Debtor 2:                                                                                 Fees, costs due:                  $295.83                           advanced:                        N/A                                     insurance:                         N/A
                                                                                          Escrow deficiency for                                                                                                                        Total monthly
Last 4 digits to identify:    8666                                                        funds advanced:                   $0.00                             Projected escrow shortage:       N/A                                     payment:*                          N/A


Creditor:                     Fulton Bank of New Jersey                                   Less total funds on hand:         $0.00                             Less funds on hand:              N/A


Servicer:                     Fulton Bank of New Jersey                                   Total debt:                       $11,318.63                        Total prepetition arrearage:* N/A                                                        *Please see Addendum
Fixed accrual/daily
simple interest/other:        other

Part 5 : Loan Payment History from First Date of Default
                                                  Account Activity                                                                      How Funds were Applied/Amount Incurred                                               Balance After Amount Received/Incurred
A.              B.            C.             D.                 E.                        F.            G.               H.                   I.              J.            K.             L.            M.              N.            O.             P.                  Q.
Date            Contractual   Funds Received Amount             Description               Contractual   Prin,int& esc    Amount to            Amount to       Amount to     Amount to Fees Unapplied     Principal       Accrued       Escrow Balance Fees/Charges        Unapplied Funds
                Payment                      Incurred                                     Due Date      past due balance Principal            Interest        Escrow        or Charges     Funds         Balance         Interest                     Balance             Balance
                Amount                                                                                                                                                                                                   Balance
08/27/2016           $50.00                                     Installment Payment Due   08/27/2016               $50.00                                                                                    $9,924.61                         $0.00             $0.00             $0.00
09/27/2016           $50.00                                     Installment Payment Due   08/27/2016              $100.00
10/13/2016                                              $2.73   Late Charge Assessed      08/27/2016              $100.00                                                             -$2.73                 $9,924.61                         $0.00             -$2.73            $0.00
10/27/2016           $50.00                                     Installment Payment Due   08/27/2016              $150.00                                                                                    $9,924.61                         $0.00             -$2.73            $0.00
11/14/2016                                              $2.56   Late Charge Assessed      08/27/2016              $150.00                                                             -$2.56                 $9,924.61                         $0.00             -$5.29            $0.00
11/27/2016           $50.00                                     Installment Payment Due   08/27/2016              $200.00                                                                                    $9,924.61                         $0.00             -$5.29            $0.00
12/13/2016                                              $2.82   Late Charge Assessed      08/27/2016              $200.00                                                             -$2.82                 $9,924.61                         $0.00             -$8.11            $0.00
12/27/2016           $50.00                                     Installment Payment Due   08/27/2016              $250.00                                                                                    $9,924.61                         $0.00             -$8.11            $0.00
01/10/2017                            $3.85                     Irregular Payment         08/27/2016              $250.00                             $3.85                                                  $9,924.61                         $0.00             -$8.11            $0.00
01/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $300.00                                                                                    $9,924.61                         $0.00             -$8.11            $0.00
02/10/2017                                              $2.61   Late Charge Assessed      08/27/2016              $300.00                                                             -$2.61                 $9,924.61                         $0.00            -$10.72            $0.00
02/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $350.00                                                                                    $9,924.61                         $0.00            -$10.72            $0.00
03/15/2017                                              $3.03   Late Charge Assessed      08/27/2016              $350.00                                                             -$3.03                 $9,924.61                         $0.00            -$13.75            $0.00
03/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $400.00                                                                                    $9,924.61                         $0.00            -$13.75            $0.00
04/12/2017                                              $2.57   Late Charge Assessed      08/27/2016              $400.00                                                             -$2.57                 $9,924.61                         $0.00            -$16.32            $0.00
04/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $450.00                                                                                    $9,924.61                         $0.00            -$16.32            $0.00
05/12/2017                                              $2.81   Late Charge Assessed      08/27/2016              $450.00                                                             -$2.81                 $9,924.61                         $0.00            -$19.13            $0.00
05/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $500.00                                                                                    $9,924.61                         $0.00            -$19.13            $0.00
06/12/2017                                              $2.95   Late Charge Assessed      08/27/2016              $500.00                                                             -$2.95                 $9,924.61                         $0.00            -$22.08            $0.00
06/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $550.00                                                                                    $9,924.61                         $0.00            -$22.08            $0.00
07/13/2017                                              $2.95   Late Charge Assessed      08/27/2016              $550.00                                                             -$2.95                 $9,924.61                         $0.00            -$25.03            $0.00
07/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $600.00                                                                                    $9,924.61                         $0.00            -$25.03            $0.00
08/11/2017                                              $2.81   Late Charge Assessed      08/27/2016              $600.00                                                             -$2.81                 $9,924.61                         $0.00            -$27.84            $0.00
08/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $650.00                                                                                    $9,924.61                         $0.00            -$27.84            $0.00
09/12/2017                                              $3.15   Late Charge Assessed      08/27/2016              $650.00                                                             -$3.15                 $9,924.61                         $0.00            -$30.99            $0.00
09/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $700.00                                                                                    $9,924.61                         $0.00            -$30.99            $0.00
10/13/2017                                              $3.06   Late Charge Assessed      08/27/2016              $700.00                                                             -$3.06                 $9,924.61                         $0.00            -$34.05            $0.00
10/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $750.00                                                                                    $9,924.61                         $0.00            -$34.05            $0.00
11/10/2017                                              $2.76   Late Charge Assessed      08/27/2016              $750.00                                                             -$2.76                 $9,924.61                         $0.00            -$36.81            $0.00
11/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $800.00                                                                                    $9,924.61                         $0.00            -$36.81            $0.00
12/13/2017                                          $3.25       Late Charge Assessed      08/27/2016              $800.00                                                             -$3.25                 $9,924.61                         $0.00            -$40.06            $0.00
12/14/2017                                        $250.00       Attorney Fees             08/27/2016              $800.00                                                           -$250.00                 $9,924.61                         $0.00           -$290.06            $0.00
12/27/2017           $50.00                                     Installment Payment Due   08/27/2016              $850.00                                                                                    $9,924.61                         $0.00           -$290.06            $0.00
01/12/2018                                              $2.96   Late Charge Assessed      08/27/2016              $850.00                                                             -$2.96                 $9,924.61                         $0.00           -$293.02            $0.00
01/27/2018           $50.00                                     Installment Payment Due   08/27/2016              $900.00                                                                                    $9,924.61                         $0.00           -$293.02            $0.00
02/09/2018                                              $2.81   Late Charge Assessed      08/27/2016              $900.00                                                             -$2.81                 $9,924.61                         $0.00           -$295.83            $0.00
02/27/2018           $50.00                                     Installment Payment Due   08/27/2016              $950.00                                                                                    $9,924.61                         $0.00           -$295.83            $0.00
03/05/2018                                                      Bankruptcy Filed          08/27/2016              $950.00                                                                                    $9,924.61                         $0.00           -$295.83            $0.00




Official Form 410A                                                                                                                  Mortgage Proof of Claim Attachment                                                                                                                      Page 1 of 1
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                                      Addendum
This claim is a total debt claim pursuant to the terms of the Credit Agreement. Please see
breakdown of all amounts due below.



Principal balance:    $9,924.61

Interest due:         $1,098.19

Fees, costs due:      $295.83

       Total debt:    $11,318.63



Fees, costs due:

10/13/2016      Late Charge   $2.73             08/11/2017    Late Charge   $2.81

11/14/2016      Late Charge   $2.56             09/12/2017    Late Charge   $3.15

12/13/2016      Late Charge   $2.82             10/13/2017    Late Charge   $3.06

02/10/2017      Late Charge   $2.61             11/10/2017    Late Charge   $2.76

03/15/2017      Late Charge   $3.03             12/13/2017    Late Charge   $3.25

04/12/2017      Late Charge   $2.57             12/14/2017    Attorney Fees $250.00

05/12/2017      Late Charge   $2.81             01/12/2018    Late Charge   $2.96

06/12/2017      Late Charge   $2.95             02/09/2018    Late Charge   $2.81

07/13/2017      Late Charge   $2.95

                              Total $295.83
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                      UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
Jamie M. Haas                           Chapter 13
                                        Bankruptcy No. 18-11474-AMC
                    Debtor

Fulton Bank of New Jersey, or its Successor or
Assignee
                    Movant
              vs.

WILLIAM C. MILLER, Esq., Trustee
Jamie M. Haas
                Respondents

  CERTIFICATION OF SERVICE OF PROOF OF CLAIM AND MORTGAGE PROOF
                       OF CLAIM ATTACHMENT

        I, Raymond M. Kempinski, attorney for Fulton Bank of New Jersey, hereby certify that I
served a true and correct copy of the foregoing Proof of Claim and Mortgage Proof of Claim
Attachment, by United States Mail, first class, postage prepaid, and/or electronic means, upon
the following:
Date Served:


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